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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN HosPITAL AssOClATIoN, a al.,

Plaintiffs,
Civil Action No. l4-cv~00851 (JEB)

V.

ALEX M. AZAR lI, in his official
Capacity as SECRETARY OF HEALTH AND
HUMAN SERVICES,

Defend ant_

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DECLARATION OF NORRIS W. COCHRAN

I, Norris W. Cochran, declare as follows:

l. l am the Deputy Assistant Secretary of Budget at the Department of Health and
Human Services (HHS or Department). I have held this position since 2009. Among my duties,
l provide advice and guidance to the Assistant Secretary for Financial Resources and HHS senior
leadership on all aspects of budget, performance, and program policy for the Department. The
statements made in this declaration are based on my personal knowledge, information contained
in agency files, and information furnished to me in the course of my official duties. This
declaration supplements prior declarations in this case.

2. Attached as Exhibit l is a true and correct copy of the Medicare Appeals
Dashboard, Which shows the actual volume of appeals at the Office of Medicare Hearings and
Appeals (OMHA) and the prior two levels of appeal from the beginning of fiscal year (FY) 2012
through the third quarter of FY 2018.

3. As reflected in Exhibit l, OMHA received 45,630 appeals in the first three

quarters of FY 2018. As of June 30, 2018, the backlog at OMHA was 446,569 appeals.

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4. As reflected in the tablej OMl-IA received only 661 appeals resulting from

Recovery Audit Contractor (RAC) overpayment determinations in the first three quarters of
FY 2018. As shown in the Medicare Appeals Dashboard, the number of RAC appeal receipts at
OMHA over the last six quarters demonstrates a steady downward trend:

0 Q2, FY 2017: M RAC receipts

0 Q3, FY 2017: M RAC receipts

¢ Q4, FY 2017: 1_,@ RAC receipts

0 Ql, FY 2018: 333 RAC receipts

0 QZ, FY 20l 82 M RAC receipts

¢ Q3, FY 2018: @ RAC receipts

5. As reflected in Exhibit 2, using data as of June 30, 2018, HHS projects the

number of appeals pending (including both appeals pending for less than 90 days and appeals
pending for longer than that period) at Ol\/[HA to be 426,594 by the end of FY 2018 (Sept. 30,
2018); 341,324 by the end ofFY 2019 (Sept. 30, 2019); 214,7'92 by the end ofFY 2020 (Sept.
30, 2020); 106,356 by tlie end of FY 2021 (Sept. 30, 2021). HHS projects that in FY 2022 there
will be no backlog of appeals pending at Ol\/lI-IA. This projection takes into account the impact
on the backlog of ongoing administrative actions as described in current and prior declarations
The projection also takes into account the impact of increased discretionary funding that OMHA
received in March 2018, which the Departinent projects to increase the adjudication capacity of
OMHA through an additional 80 ALJ teams and 15 attorney adjudicatorsl The projection
maintains the FY 2018 discretionary funding level at OMHA in future years, based on the

continuation of an increased funding level for OMHA in the House and Senate FY 2019

appropriation bills.

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6. The Department is committed to addressing the backlog of Medicare appeals
while ensuring the integrity of the l\/ledicare Trust Funds through reimbursing only those claims
that are proper for payment The Department continues to evaluate all administrative and
legislative options, including new authorities, funding, and reforms needed to improve the

Medicare Appeals process and address the backlog

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Execu August 3, 2018 in Washington, D.C.

   

 

Norris W. Cochran

